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 1   BENJAMIN B. WAGNER
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     Fresno, California 93721
 4   Telephone: (559) 497-4000
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 5
     Attorneys for the
 6   United States of America
 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                )    1:12-CR-00341-LJO-SKO
                                              )
11                    Plaintiff,              )    STIPULATION CONTINUING STATUS
                                              )    CONFERENCE; ORDER
12                                            )
                                              )    Date: July 1, 2013
13              v.                            )    Time: 1:00 P.M.
                                              )    Judge: SHEILA K. OBERTO
14                                            )
                                              )
15   RASSAMEL PHOTHIDOKMAI, ET AL.,           )
                                              )
16                    Defendants.             )
                                              )
17
18        IT IS HEREBY STIPULATED by and between the parties hereto, and
19   through their respective attorneys of record herein, that the status
20   conference now set for June 17, 2013, may be continued to July 1,
21   2013, at 1:00 p.m.
22        The reason for the continuance is due to the passing of the
23   mother of the assigned prosecutor.           The parties stipulate and agree
24   that the interests of justice served by granting this continuance
25   outweigh the best interests of the public and the defendant in a
26   speedy trial and that the delay from the continuance shall be
27   excluded from the calculation of time under the Speedy Trial Act
28   pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv).

                       Stipulation Continuing Status Conference; Order
           Case 1:12-cr-00341-LJO-SKO Document 77 Filed 06/13/13 Page 2 of 3


 1
 2   Dated:      June 13, 2013                      BENJAMIN B. WAGNER
                                                    United States Attorney
 3
 4                                          By:        /s/
                                                    KAREN A. ESCOBAR
 5                                                  Assistant U.S. Attorney
 6
 7   Dated:      June 13, 2013                      ___/s/_________________
                                                    BARBARA HOPE O”NEILL
 8                                                  Counsel for Defendant
                                                    Rassamee Phothidokmai
 9
10   Dated:      June 13, 2013                      ___/s/_________________
                                                    PETER MICHAEL JONES
11                                                  Counsel for Defendant
                                                    Paul Noakham
12
13   Dated:      June 13, 2013                      ___/s/_________________
                                                    GARY L. HUSS
14                                                  Counsel for Defendant
                                                    Phonepasejth Phaphilom
15
16   Dated:      June 13, 2013                      ___/s/_________________
                                                    ROGER K. LITMAN
17                                                  Counsel for Defendant
                                                    Thavone Onsyphanla
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                         Stipulation Continuing Status Conference;   Order

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                                              O R D E R
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     The intervening period of delay shall be excluded in the interests of
 4
     justice pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(iv).
 5
 6
              IT IS SO ORDERED.
 7
     Dated:     June 13, 2013                      /s/ Sheila K. Oberto
 8   ie14hj                                UNITED STATES MAGISTRATE JUDGE
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                            Stipulation Continuing Status Conference;   Order

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